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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                :               CHAPTER 7
                                                      :
CARLTON RUFFIN,                                       :               CASE NO. 19-57751-JWC
                                                      :
         Debtor.                                      :
                                                      :

         NOTICE OF PLEADING, DEADLINE TO OBJECT, AND FOR HEARING

         PLEASE TAKE NOTICE that on March 15, 2021, S. Gregory Hays, as Chapter 7 Trustee

(“Trustee”) for the bankruptcy estate (the “Bankruptcy Estate”) of Carlton Ruffin (“Debtor”),

filed the Motion for Order Authorizing Compromise and Settlement with Debtor under Rule 9019

of the Federal Rules of Bankruptcy Procedure [Doc. No. 34] (the “Motion”) and related papers

with the Court, seeking an order, among other things, approving a Settlement Agreement1 pursuant

to which, inter alia,2 Trustee and Debtor (the “Parties”), settle the claim that the Bankruptcy Estate

has regarding that certain real property with a common address of 1610 Neighborhood Walk,

McDonough, Henry County, Georgia, 30252 for total payments (the “Scheduled Payments”)

from Debtor in the amount of $31,000.00 in exchange for Trustee’s abandoning the Interest in the

Property to Debtor. In addition, there are events of default, cure provisions, and liquidated damage

provisions related to timely payment of the Scheduled Payments. Finally, Debtor is required to

maintain and insure the Property and pay his Mortgage Payments during the pendency of the




1
       Capitalized terms used herein but not otherwise defined shall have the meanings ascribed
to them in the Motion.
2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the terms of the Settlement Agreement shall controls.


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Scheduled Payments. The exact terms of the Settlement Agreement are set forth in Exhibit “A” to

the Motion.

        Pursuant to General Order No. 24-2018, the Court may consider this matter without further

notice or a hearing if no party in interest files a response or objection within twenty-one (21) days

from the date of service of this notice. If you object to the relief requested in the Motion, you must

timely file your objection with the Bankruptcy Clerk at: Bankruptcy Clerk, U.S. Bankruptcy

Court, Suite 1340, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303, and serve a copy on the

Trustee's attorney, Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100,

Atlanta, Georgia 30363, and any other appropriate persons by the objection deadline. The response

or objection must explain your position and be actually received by the Bankruptcy Clerk within the

required time

        A hearing on the Motion has been scheduled for April 22, 2021 at 11:00 a.m., in

Courtroom 1203, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia. If an

objection or response is timely filed and served, the hearing will proceed as scheduled. If you do

not file a response or objection within the time permitted, the Court may grant the relief

requested without further notice or hearing provided that an order approving the relief requested is

entered at least one business day prior to the scheduled hearing. If no objection is timely filed, but no

order is entered granting the relief requested at least one business day prior to the hearing, the hearing

will be held at the time and place as scheduled.

        Given the current public health crisis, hearings may be telephonic only. Please check the

“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top of

the GANB Website prior to the hearing for instructions on whether to appear in person or by phone.”




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        Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,

you may wish to consult one.

        Dated: March 16, 2021.
                                          ARNALL GOLDEN GREGORY LLP
                                          Attorneys for Trustee

                                          By:    /s/ Michael J. Bargar
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Atlanta, GA 30363                                Georgia Bar No. 645709
404.873-7031                                     michael.bargar@agg.com




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